             Case 2:17-cr-00087-TSZ          Document 49     Filed 08/29/17   Page 1 of 2




 1                                                  THE HONORABLE THOMAS S. ZILLY
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 4
 5
                              UNITED STATES DISTRICT COURT
 6
                             WESTERN DISTRICT OF WASHINGTON
 7                                     AT SEATTLE

 8
     UNITED STATES OF AMERICA,                      )   No. CR17-087-TSZ
 9                                                  )
                     Plaintiff,                     )   ORDER GRANTING
10                                                  )   MOTION TO WITHDRAW AS
                v.                                  )   COUNSEL AND FOR APPOINTMENT
11                                                  )   OF NEW COUNSEL
     FREDY GUTAMA-GUTAMA,                           )
12                                                  )
                     Defendant.                     )
13                                                  )

14
            THE COURT has considered the Ex Parte Sealed Motion to Withdraw as
15
16   Counsel, docket no. 47, and for Appointment of New Counsel, the accompanying Ex

17   Parte Declaration, and the records and files in this case.
18          IT IS NOW ORDERED that Assistant Federal Public Defender Gregory Geist is
19
     permitted to withdraw as defense counsel in this matter, and that new counsel shall be
20
     appointed to represent the defendant from the CJA panel. The CJA Administrator is
21
22   DIRECTED to appoint substitute counsel to represent defendant.

23          The Clerk is DIRECTED to send a copy of this Order to all counsel of record
24
     and to the CJA Administrator.
25
26

                                                                  FEDERAL PUBLIC DEFENDER
      ORDER TO WITHDRAW AS COUNSEL AND                               1601 Fifth Avenue, Suite 700
      FOR APPOINTMENT OF NEW COUNSEL                                   Seattle, Washington 98101
      (U.S.A. v. Gutama-Gutama, CR17-087-TSZ) - 1                                 (206) 553-1100
             Case 2:17-cr-00087-TSZ          Document 49   Filed 08/29/17   Page 2 of 2




            The Status Hearing set for Thursday, August 31, 2017, at 1:30 p.m. is
 1
 2   STRICKEN.

 3          IT IS SO ORDERED.
 4
            DATED this 29th day of August, 2017.
 5
 6
 7
 8
                                                      A
                                                      Thomas S. Zilly
 9                                                    United States District Judge
     Presented by:
10
     s/ Gregory Geist
11   Assistant Federal Public Defender
12   Attorney for Fredy Gutama-Gutama

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                                                                FEDERAL PUBLIC DEFENDER
      ORDER TO WITHDRAW AS COUNSEL AND                             1601 Fifth Avenue, Suite 700
      FOR APPOINTMENT OF NEW COUNSEL                                 Seattle, Washington 98101
      (U.S.A. v. Gutama-Gutama, CR17-087-TSZ) - 2                               (206) 553-1100
